                                                                           FILED
                                                                        IN CLERK'S OFFICE
                                                                  U S. DISTRICT COURT E.D.N.Y.

Steven John Moser                     Z0ZZ JAN 14 AM IQ: 02
5 E Main St
                                                                   1..C) -:3 tSLP..t'll) OFFICE
Huntington NY 11743


  Against                                                     New York 01/13/22


Michael Tizzano
44 Sintsink Dr East # E
Port Washington NY 11050

Case#: 2:20 - CV- 04026 -JMA- SIL (Hernandez Vs Rosso Uptown)

                                  affidavit



Your Honor,

On our last conference call dated 12/09/21 you ordered Mr. Moser to mail me his
discover requests related to this case, I personally did not receive any
correspondence from plaintiff, Mr. Moser failed few times to appear for our
conferences calls and now he failed to mail his discover requests as you ordered,
Mr. Moser stated during our call that he would have overnight the request but
never did.

I once again state that I have no affili~tion with Rosso Uptown, I certainly can't
provide any information related to this case, however Mr. Moser failed on more
than one occasion to appear as scheduled for our conference calls and now he
failed to mail us, in due time, his requests for discovery, on these bases I request
that I will be held not responsible in relation to this case, that this case will be
dismissed and that Mr. Moser cea           d desists from suing me.
